                                  IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                                           &,9,/MINUTES: MOTION HEARING

Torres et al                  YV Collins     et al             Date: July 14, 2021

Case No. 2:20-cv-26                         Time 3:12 p.m.         to 4:09 p.m.
===========================================================================
             Honorable &<17+,$5,&+$5'621:<5,&. U.S. 0DJLVWUDWHJudge, Presiding

 Arlene Pape                                       DCR
   Deputy Clerk                 Court Reporter
============================================================================
Michelle Torres et al                                                                         George T Lewis
                                                                                              Ellora Israni (via video)
                                                                                              Mary McCord (via video)
                                                                                              Seth Wayne (via video)
                                                                                              Jonathan Backer (via video)


W. Douglas Collins et al                                                                      Hilary Magacs
                                                                                              Jonathan Swann Taylor



PROCEEDINGS:
                      5( Motion        to Quash, Doc. 119
✔ 2SHQLQJVWDWHPHQWVE\WKH&RXUW

✔ 2UDODUJXPHQWE\3ODLQWLII                3ULYLOHJHORJWREHXSGDWHGWRLQFOXGHDOOFRPPXQLFDWLRQVIURP0D\
                                                WR)HEUXDU\
✔ 2UDODUJXPHQWE\'HIHQGDQW
                                                 3DUWLHVVKDOOKDYHXQWLOFORVHRIEXVLQHVVRQ0RQGD\WRVXEPLWDQ\
                                                 VXSSOHPHQWDOILOLQJV
✔ 2UGHUWRHQWHU

     ,$UOHQH3DSH'HSXW\&OHUN&(57,)<WKHRIILFLDOUHFRUGRIWKLVSURFHHGLQJLVDQDXGLRILOH*UQ'&5B&9BB




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